

People v Jones (2020 NY Slip Op 04033)





People v Jones


2020 NY Slip Op 04033


Decided on July 17, 2020


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on July 17, 2020
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., CENTRA, NEMOYER, CURRAN, AND WINSLOW, JJ.


561 KA 19-00111

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT,
vHANNAH L. JONES, DEFENDANT-APPELLANT. 






CARR SAGLIMBEN LLP, OLEAN (JAY D. CARR OF COUNSEL), FOR DEFENDANT-APPELLANT.


	Appeal from a judgment of the Allegany County Court (Thomas P. Brown, J.), rendered August 23, 2018. The judgment convicted defendant, upon her plea of guilty, of attempted burglary in the second degree. 
It is hereby ORDERED that the judgment so appealed from is unanimously affirmed.
Entered: July 17, 2020
Mark W. Bennett
Clerk of the Court








